




NO. 07-05-0367-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



APRIL 10, 2006



______________________________





MARK STEVEN GREEN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. A 13859-0010; HONORABLE ED SELF, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

MEMORANDUM OPINION

Pursuant to a plea agreement, appellant Mark Steven Green was convicted of unauthorized absence from a community corrections facility and sentenced to one year &nbsp;confinement, suspended in favor of two years community supervision, and a $1,000 fine. &nbsp;On July 21, 2005, the State filed a motion to revoke appellant’s community supervision, and appellant pled true to the violations alleged. &nbsp;Following a hearing on the State’s motion, the trial court revoked appellant’s community supervision and assessed the original term of confinement. &nbsp;In presenting this appeal,
 counsel has filed an 
Anders
(footnote: 1) brief in support of a motion to withdraw. &nbsp;We grant counsel’s motion and affirm.

In support of his motion to withdraw, counsel certifies he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); Monroe v. State, 671 S.W.2d 583, 585 (Tex.App.–San Antonio 1984, no pet.).
 Thus, he concludes the appeal is frivolous. &nbsp;In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Cr.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court's judgment. &nbsp;Counsel has also shown that he sent a copy of the brief to appellant and informed appellant that, in counsel's view, the appeal is without merit. &nbsp;In addition, counsel has demonstrated that he notified appellant of his right to review the record and file a 
pro se
 response if he desired to do so. &nbsp;Appellant did not file a response. &nbsp;Neither did the State favor us with a brief.

We have
 made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 &nbsp;Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Cr.App. 2005). &nbsp;We have found no such grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel's motion to withdraw is hereby granted and the trial court’s &nbsp;judgment is affirmed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish.
Ñthe verdicts and whether the stacking of appellant’s sentences constituted cruel and unusual punishment, but again he concluded there was no reversible error. &nbsp;Thereafter, we conducted our own review of the record to assess the accuracy of appellate counsel’s conclusions and to uncover any reversible error pursuant to 
Stafford v. State, 
813 S.W.2d 503 (Tex. Crim. App. 1991) and concluded the same. &nbsp;

Accordingly, the motions to withdraw are granted, and the judgments are affirmed. 



Brian Quinn 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice



Do not publish. &nbsp;

FOOTNOTES
1:Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).




